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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CHRISTIANA LIGHT,                                                           CIVIL ACTION

                Plaintiff
      v.


DELOITTE TAX, LLP, and                                                      NO. 23-cv-00104
AYDINHAYRI

                Defendants


                                     SCHEDULING ORDER


     NOW, this 16thth day of February, 2023, following a preliminary pretrial conference, it is

ORDERED as follows:

    1. If the parties agree to participate in a settlement conference before Magistrate Judge

           Pamela Carlos, the parties shall contact Magistrate Judge Carlos's chambers to

           schedule a settlement conference on a date convenient for her schedule no later than

           May 16, 2023.

    2. All factual and expert discovery shall be completed on or before June 16, 2023.

    3. Plaintiff's expert report, if any, is due by June 30, 2023.

    4. Defendant's expert report, if any, is due by July 10, 2023.

    5. Dispositive motions shall be filed on or before July 24, 2023.

    6. Responses to dispositive motions shall be filed no later than August 7, 2023.

    7. Motions in limine are due August 23, 2023.

    8. Responses to motions in limine are due September 1, 2023.

    9. Plaintiff's pretrial memorandum is due September 1, 2023.
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10. Defendant's pretrial memorandum is due September 1, 2023.

11. Final pre-trial conference shall be held on September 6, 2023.

12. Joint exhibit binder is to be submitted to chambers no later than 3:00 p.m. the day

   before trial.

13. This matter is in the Monday, September 18, 2023 - Friday, September 29, 2023

   jury pool.




                                                          BY THE COURT:




                                                         $           2:s
                                                          Hon. Mia R . Perez
